                        Case 1:21-cv-06550-PGG Document 5
                                                        4 Filed 11/15/21
                                                                11/11/21 Page 1 of 1




Seth D. Rigrodsky                                                                                     Herbert W. Mondros
Admitted in DE, NY                                                                                         Admitted in DE, PA

Timothy J. MacFall                                                                                        Vincent A. Licata
Admitted in NY                                                                                                Admitted in NY

Gina M. Serra
Admitted in DE, NJ, NY, PA
                                                              November 11, 2021

          VIA ECF
          The Honorable Paul G. Gardephe
          Thurgood Marshall
          United States Courthouse
          40 Foley Square
          New York, NY 10007

                     Re:     Stein v. IKONICS Corp., Case No. 1:21-cv-6550 (S.D.N.Y.)
                             Whitfield v. IKONICS Corp., Case No. 1:21-cv-07010 (S.D.N.Y.)

          Dear Judge Gardephe:

                  The undersigned represent plaintiffs in the cases captioned Stein v. IKONICS Corp., Case
          No. 1:21-cv-6550, and Whitfield v. IKONICS Corp., Case No. 1:21-v-7010, which have been
          assigned to Your Honor and marked as related cases. In both cases, the Court has scheduled a
          status conference for November 18, 2021, at 10:45 a.m.

                  We have conferred with counsel for the defendants, Mr. Jeff Justman
          (Jeff.Justman@faegredrinker.com), who will be served with this letter by email. While defendants
          have informed us that they reserve all Rule 12(b) defenses, all parties respectfully request that the
          status conference currently set for November 18 be rescheduled to a future date. The reason for
          the parties’ joint request is that the definitive proxy statement for Ikonics Corp. is not yet on file,
          and the date for the shareholder vote was just set yesterday, for December 10, 2021. The parties
          propose that a status conference be rescheduled to approximately thirty (30) days after the
          shareholder vote, on a date and at a time that are convenient for the Court. Should Your Honor
          have any questions, we are available at the Court’s convenience.

                                                                                Respectfully submitted,
    Memo Endorsed: The application is granted. The initial
    pre-trial conference scheduled for November 18, 2021 is                     /s/ Gina M. Serra
    adjourned to January 6, 2022 at 11:15 a.m. in Courtroom                     Gina M. Serra, Esq.
    705 of the U.S. Courthouse, 40 Foley Square, New York,
    New York.                                                                   /s/ Gloria Kui Melwani
                                                                                Gloria Kui Melwani, Esq.




                             Dated: November 15, 2021
